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                              EXHIBIT 386
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          Case: 1:17-md-02804-DAP Doc #: 1965-68 Filed: 07/23/19 2 of 3. PageID #: 167871




  From:                                              Mary_Woods/Corona/Watson
  Sent:                                              Monday, February 09, 2004 6:40 AM
  To:                                                Eileen_Mesis/Morristown/Watson%Watson
  Cc:                                                Christine_Marino/Morristown/Watson%Watson; Judy_Callahan/Corona/Watson%
                                                     Watson
  Subject:                                           Re: Suspicious Order Reports



  Eileen,

  Please make sure that Tracey's process becomes part of the OPD for CSS and for OP. This is critical that we have
  Tracey's group do the contacting if we need to involved the DEA due to a Customers request for large quantities of
  controlled substances.

  Please confirm that this is being added.

  Thanks, Mary
  @Tracey Hernandez

  To: Mary Woods/Corona/Watson@Watson
  cc: Christine Marino/Morristown/Watson@Watson. Eileen Mesis/Morristown/Watson@Watson, Judy Callahan/Corona/Watson@Watson


                                          rrxi1
  Subject: Re: Suspicious Order Reports   l..::::'...]
  Mary-
  If you get to the point of needing to contact DEA. please do so through me. If you can have your SOP reference the need
  to contact the Director, Controlled Substance Compliance, rather than DEA that would be great. Thanks!
  @Mary Woods 02/01/2004 09:01 PM

  Mary Woods     02/01/2004 09:01 PM




  @, WATSON Pharma, Inc.
            A Suoslcllory of Wo1son Phormocei;11col~. inc.

  To: Tracey Hernandez/Morristown/Watson@Watson
  cc: Christine Marino/Morristown/Watson@Watson, Eileen Mesis/Morristown/Watson@Watson, Judy Callahan/Corona/Watson@Watson


                                          rrxi1
  Subject: Re: Suspicious Order Reports   l..::.lJ
  Hi Tracey,

  We have never needed to file a report. Anytime there was question during the order process of a suspicious order
  quantity, we went (and still follow the same procedure) back to a customer to let them know that we would need to notify
  the DEA due to the quantity they wanted to order, in response, they either reduced the quantity or cancelled the order.
  Most all customers understand the issues and do not want to bring attention to these large purchases.

  Please let us know if you would like us to include a contact in our operational procedure document, or if you would like us
  to follow a different procedure, we can include that detail as well.                           _           _ __ _          (
                                                                                                                             EXHIBIT
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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                         ALLERGAN_MDL_021664 76
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   Let me know if this does not address your concern.

  Thanks Tracey,

  Mary



  @;Judy Callahan 01/29/2004 08:06 AM

  Judy Callahan    01/29/2004 08:06 AM




  ® WATSON Pharma, Inc.
            A S1.1bs101orv of worsen Phormoi;ei;tlco1~. inc.

  To: Tracey Hernandez/Morristown/Watson@Watson
  cc: Christine Marino/Morristown/Watson@Watson, Mary Woods/Corona/Watson@Watson, Eileen Mesis/Morristown/Watson@Watson


                                          rrxil
  Subject: Re: Suspicious Order Reports   l=.J
  I have not had to forward suspicious reports.          You may want to cover this with Mary Woods.
  @Tracey Hernandez

  To: Christine Marino/Morristown/Watson@Watson, Judy Callahan/Corona/Watson@Watson
  cc:


  Subject: Suspicious Order Reports


  Chris/Judy-
  Can you please tell me who at DEA you have on record to send these reports to if you ever need to?




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